           Case 8:15-bk-10728-MGW        Doc 175     Filed 10/21/19   Page 1 of 1



                     IN THE UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

IN RE:                                                    CASE NO. 15-10728-MGW
KAY N JOHNSON
                                                          Chapter 7
                       Debtor


                                    CERTIFICATE OF SERVICE



I HEREBY CERTIFY that a true and correct copy of the Notice of Preliminary Hearing has been
furnished by U.S. mail or electronically this October 21, 2019 to the attached mailing matrix.




                                     /s/ Traci K. Stevenson
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